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9                                 UNITED STATES DISTRICT COURT
10                              NORTHERN DISTRICT OF CALIFORNIA
11                                     SAN FRANCISCO DIVISION
12
     UNITED STATES OF AMERICA,                    )      No. CR 06-0030 JSW
13                                                )
            Plaintiff,                            )
14                                                )      STIPULATION AND [PROPOSED]
                 v.                               )      ORDER DOCUMENTING
15                                                )      EXCLUSION OF TIME
     NANCY PUA,                                   )
16   JOHNNY LEE TAN, and                          )
     KEVIN PUA,                                   )
17                                                )
            Defendants.                           )
18                                                )
19          With the agreement of the parties in open courts on March 9, 2006, and with the consent
20   of the defendants Johnny Lee Tan and Kevin Pua, the Court enters this order (1) setting a hearing
21   on March 23, 2006 at 2:30 p.m. and (2) documenting the exclusion of time under the Speedy
22   Trial Act, 18 U.S.C. § 3161, from March 9, 2006 to March 23, 2006. The parties agree, and the
23   Court finds and holds, as follows:
24          1.        The defendants Johnny Lee Tan and Kevin Pua appeared before the Court with
25   new counsel on March 9, 2006. Counsel for the government informed the Court that the co-
26   defendant Nancy Pua had been arrested in Los Angeles, was being transported in custody to this
27   District, and was due in this District imminently. Counsel for the government also noted that the
28   government would be producing a significant amount of discovery immediately, that several

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1    additional boxes of discovery would be produced thereafter, and that the government would also

2    make available for inspection a large number of counterfeit goods currently in the government’s

3    custody. Counsel for each of the defendants needs time to review the large amount of discovery

4    to be produced and to be made available by the government. Continuing the case until March 23,

5    2006 will give counsel some opportunity to accomplish this objective.

6              2.   The Court finds that, taking into the account the public interest in the prompt

7    disposition of criminal cases, granting the continuance until March 23, 2006 is necessary based

8    on the complex nature of this case arising from the large amount of discovery and based on
9    effective preparation of counsel. See 18 U.S.C. § 3161(h)(8)(B)(ii) & (iv). Given these

10   circumstances, the Court finds that the ends of justice served by excluding the period from March

11   9, 2006 to March 23, 2006 outweigh the best interest of the public and the defendant in a speedy

12   trial. Id. § 3161(h)(8)(A).

13             3.   Accordingly, and with the consent of the defendants, the Court (1) sets a hearing

14   for March 23, 2006 at 2:30 p.m. and (2) orders that the period from March 9, 2006 to March 23,

15   2006 be excluded from Speedy Trial Act calculations under 18 U.S.C. § 3161(h)(8)(A) & (B)(ii)

16   & (iv).

17   SO STIPULATED.

18   DATED:________________                                 /S/
                                                  KYLE F. WALDINGER
19                                                Assistant United States Attorney

20
21   DATED:________________                                  /S/
                                                  SHANA KEATING
22                                                Attorney for the defendant Johnny Lee Tan

23
     DATED:________________                                  /S/
24                                                DAVID FERMINO
                                                  Attorney for the defendant Kevin Pua
25
26   IT IS SO ORDERED.

27
            March 15, 2006
     DATED:________________                       _______________________________
28                                                JEFFREY S. WHITE
                                                  United States District Judge
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